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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               OXFORD DIVISION

LISA DODSON JONES                                                                PLAINTIFF

v.                                                      CIVIL ACTION NO. 3:18-cv-145-RP

MERCHANTS & FARMERS BANK OF
HOLLY SPRINGS, MISSISSIPPI, et al.                                           DEFENDANTS

                                           ORDER
        On November 1, 2018, Plaintiff in this case filed her Second Amended Complaint after

the Court granted her motion to amend. Docket 33. The filing of the Second Amended

Complaint moots Defendants’ previously filed Motion to Dismiss. Docket 10. Given this

procedural posture, the Court dismisses Defendants’ Motion to Dismiss without prejudice as

moot.

        SO ORDERED, this the 2nd day of November, 2018.

                                            /s/ Roy Percy
                                            UNITED STATES MAGISTRATE JUDGE
